     Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 1 of 9 Page ID #:87

R ~~ ~ ~~oc                                                                  ~~~i~ n'~~~~"r~~~~~
                                  LJ~TITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY
                                             Martin Luther King. Jr.
            4
                                      Federal Building and U.S. Courthouse
                                                50 Walnut Street
         w:~;~
          ~ ..                                    P.O. Box 419
                                          Newark, New Jersey 07101-0419

      ~1 illiam T. Walsh, CLERK
                                                                                                  FILED
                                                                                       CLERK, U.S. DISTRICT COURT
                                                       26 February 2018

                                                                                             '
                                                                                            M~ 5 208
                                                                                     CENT    D T CT OF CALIFORNIA
                                                                                     BY                   DEPUTY


      R ,:        United States of America v, PHILIP JAMES LAYFIELD
                  O ur Docket No. 2:18-mj-6028
                  Your Locket No. +`~T19- oo~o

      Dear Clerk:

      Flease be advised that an initi~.l appearance wary held in the
     above-captioned case pursuant to Rule 5 of 'the Federal Rules of
     Criminal Procedure.     You can obtain she original record by
                                                                      of
     accessing CM/ELF through PACER. If applicable, a certified copy
                                      Kindly acknowled ge receipt on the
     the Appearance Bond is enclosed.
     duplicate of this letter, which is provided for your convenience.


      Sincerely,




     WILLIAM T. G1AI,SH, Clerk
           .ti




     B y:
     Deg




     RECEIPT r~CKNOWLEDGED BY:
     DATE:


                                                                               Dt~J-Crim-004{Aev, 09/06)
    Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 2 of 9 Page ID #:88
CM/ECF LIVE - U.S. District Court for the District of New Jersey                     Page 1 of 2


                                                                                      CLOSED

                                 U.S. District Court
                      District of New Jersey [LIVE](Newark)
               CRIMINAL DOCKET FOR CASE #: 2:18-mj-06028-SCM-1



 Case title: USA v. LAYFIELD                                Date Filed: 02/26/2018


 Assigned to: Magistrate Judge Steven
 C. Mannion

 Defendant(1)
PHILIP JAMES LAYFIELD                        represented by DAVID A. HOLMAN
also known as                                               OFFICE OF THE FEDERAL PUBLIC
Philip Samuel Pesin                                         DEFENDER
                                                            972 BROAD STREET
                                                            NEWARK,NJ 07102
                                                           (973)645-6347
                                                            Email: david holman@fd.org
                                                            TERMINATED: 03/05/2018
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

Pending Counts                                              DisQosition
None

Highest Offense Level(Opening)
None

Terminated Counts                                           Disposition
None

Highest Offense Level(Terminated)
None

Complaints                                                  Disposition
 18:1341 MAIL FRAUD



Plaintiff




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?105860590758227-L_1_0-1                 3/7/2018
    Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 3 of 9 Page ID #:89
CM/ECF LIVE - U.S. District Court for the District of New Jersey                         Page 2 of 2



 USA                                         represented by JASON SCOTT GOULD
                                                            OFFICE OF THE U.S. ATTORNEY
                                                            DISTRICT OF NEW JERSEY
                                                            970 BROAD STREET
                                                            SUITE 700
                                                            NEWARK,NJ 07102
                                                            973-645-2776
                                                            Email: jason.gould3@usdoj.gov
                                                            LEAD ATTORNEY
                                                            A TTORNEY TO BE NOTICED
                                                            Designation: Assistant US Attorney


 Date Filed      # Docket Text

 02/26/2018          Arrest(Rule 5) of PHILIP JAMES LAYFIELD (spc,)(Entered: 03/05/2018)

 02/26/2018      1   Rule 5 Documents Received as to PHILIP JAMES LAYFIELD (spc,)(Entered:
                     03/05/2018)

 02/26/2018      2   Minute Entry for proceedings held before Magistrate Judge Steven C.
                     Mannion:Attorney Appointment Hearing as to PHILIP JAMES LAYFIELD held
                     on 2/26/2018, CJA 23 affidavit submitted, reviewed and Not approved. AFPD
                     appointed to represent deft. in New Jersey only; Bond Hearing as to PHILIP
                     JAMES LAYFIELD held on 2/26/2018, Hrg. adjourned until3/2/18 at 11 am;
                     Initial Appearance in Rule 5 Proceedings as to PHILIP JAMES LAYFIELD held
                     on 2/26/2018 penalties placed on record. Deft. temporarily committed to USM
                     until bail hrg. on 3/2/18 (Court Reporter/Recorder ECR.)(spc,)(Entered:
                     03/05/2018)

 02/26/2018      4 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to PHILIP JAMES
                    LAYFIELD. Signed by Magistrate Judge Steven C. Mannion on 2/26/2018.
                   (spc,)(Entered: 03/05/2018)

 02/26/2018      5    TEMPORARY COMMITMENT Issued as to PHILIP JAMES LAYFIELD
                     (spc,)(Entered: 03/05/2018)

 02/26/2018     6    WAIVER of Rule 5 Hearings by PHILIP JAMES LAYFIELD (spc,)(Entered:
                     03/05/2018)

 03/02/2018     7 Minute Entry for proceedings held before Magistrate Judge Steven C.
                  Mannion:Bond Hearing as to PHILIP JAMES LAYFIELD held on 3/2/2018,
                  Arguments heard from Counsel, ruling placed on record. Bail DENIED, deft.
                  committed to custody of US Marshal pending transfer to Central District of
                  California.(Court Reporter/Recorder ECR.)(spc,)(Entered: 03/05/2018)

 03/02/2018      8 COMMITMENT TO ANOTHER DISTRICT as to PHILIP JAMES LAYFIELD.
                   Defendant committed to Central District of California. Signed by Magistrate
                   Judge Steven C. Mannion on 3/2/2018.(spc,)(Entered: 03/05/2018)

 03/02/2018     9 Intradistrict Transfer to Central District of California as to PHILIP JAMES
                  LAYFIELD.(spc,)(Entered: 03/05/2018)




https://ec£njd.uscourts.gov/cgi-bin/DktRpt.pl?105860590758227-L _1 0-1                     3/7/2018
       Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 4 of 9 Page ID #:90


                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

                              MAGISTRATE'S COURTROOM MINUTES
UNITED STATES OF AMERICA                         MAGISTRATE NDGE: Steven C. Mannion

              ~                                  MAGISTRATE NO.:           2:18-mi-6028

                                                 DATE OF PROCEEDINGS:       2!2612018
PHILIP JAMES LAYFIELD
                                                 DATE OF ARREST:       2/2612018



PROCEEDINGS:       Rule 5 -Initial Appearance

(~9MPLAINT                                          TEMPORARY CONIMITMENT
( ~~j~ADVISED OF RIGHTS                             CONSENT TO DETENTION WITH RIGHT TO MAKE A
( )WAVER OF COUNSEL /           jo-~~~ ~~           BAIL APPLICATION AT A LATER TIME
(v)'~APPT. OF COUNSEL: ~~ AFPD         CJA          BAIL DEI~IIED -DEFENDANT REMANDED TO CUSTODY
 C v~WAIVER OF HRG.:~ ✓PR~L~iVt ~ ~+~t~vt9          BAIL SET:
( )CONSENT TO MAGISTRATE'S NRISDICTION
( )PLEA ENTERED:        _GUILTY _NOT GUILTY         TRAVEL RESTRICTED
( )PLEA AGREEMENT                                   REPORT TO PRETRIAL SERVICES
(..)'~INANCIAL AFFmAVIT EXECUTED                    DRUG TESTING ANDIOR TREATMENT
( y'STHER ~L/~1+4l.TiLS Pu4CL-v oN ~E Cp/~p,        MENTAL HEALTH EVALUATION AND/0R TREATMENT
                                                    SURRENDER &/OR OBTAIN NO PASSPORT
                                                    SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                    ADDITIONAL CONDITIONS


HEARINGS) SET FOR:

(~)   LIMINARY r REMOVAL HRG.                      DATE:
(   ETENTION!BAIL HRG.                             DATE:   3- 2 ~/ 8         l/ ,g-a~ .
( )TRIAL: _COURT      _ NRY                        DATE:
( )SENTENCING                                      DATE:
( )OTHER:                                          DATE:




APPEARANCES:

AUSA               JASON GOULD

DEFT. COUNSEL      DAVIDHOLMAN ~4JPT. Foa       ~ ~/v~~~

PROBATION

INTERPRETER
              Language:


Time Commenced:
Time Terminated:
CD No:
                                                              Sca.tt J.C'ceec~a,z
                                                                   DEPUTY CLERK
Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 5 of 9 Page ID #:91




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA

          V.                              MAG. NO. 2:18-mj-6028


PHILIP JAMES LAYFIELD
                                             O R D E R




         The financial inability of the defendant to retain counsel

having   been   established    by   the    Court, and      the defendant not

having waived the appointment of counsel,

         It is on this 26     day of      February       2018,

ORDERED that    DAVID HOLMAN, Esq.        from the Office of the Federal

Public Defender for the District of New Jersey is hereby appointed

to represent said defendant is~r~s--~~e ~~~==--rte~ _~._.~r ^~
                                F~ 2              ~r`~_.._
   '~-r~.
t-I~-                                                                  '
                                          -fir ~1.~s w..~a {F G~ l`,




                                                T VEN C. MANNION
                                                ~ Magistrate Judge
        Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 6 of 9 Page ID #:92


 AO 92                                                             COMMITMENT
 lRev. 6/831
                                                                          DISTRICT
          United States District Court                                                   New Jersey
                     U NITED STATES OF AMERICA                            DOCKET NO.
                                 V.


                      Philip James Layfield                               MAGISTRATE CASE NO.
                                                                                           2:1 Smj6028


  The above named defendant was arrested upon the complaint of

  charging a violation of     18: USC §1341
  DISTRICT OF OFFENSE                                                                                     DATE OF OFFENSE
                                New Jersey
  DESCRIPTION OF CHARGES:



  Mail Fraud




  BOND IS FIXED AT
  $                         Detained pending Bail Hrg on 3/2/2018 at 11:00 am


                  TO: THE UNITED STATES MARSHAL

                     You are hereby commanded to take the custody of the above named defendant and to
                 commit that defendant with a certified copy of this commitment to the custodian of a place
                 of confinement approved by the Attorney General of the United States where the defendant
                 shall be received and safely kept until dischar d ~ due course of law.



                       26 February 2018
                        Date                                      Hite S es          ge or Magistrate


                                                                 RETURN


 This commitment was received and executed as follows:


  DATE COMMITMENT ORDER                 PLACE OF COMMITMENT                                             DATE DEFENDANT COMMITTED
RECEIVED


 DATE                  UNITED STATES MARSHAL                                    (BY) DEPUTY MARSHAL
            Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 7 of 9 Page ID #:93



~ AO 466A(Rev. 10%03) Waiver of Rule 5 & 5.I Hearings


                                        UNITED STATES DISTRICT COURT

                             for the                                   DISTRICT OF                                  New Jersey

           LJrTITED STATES OF AMERICA
                                                                                    WAIVER OF RULE 5 & 5.1 HEARINGS
                                                                                          (Complaint/Indictment)

                                                                              CASE NUMBER:                          2:18-mj-6028
               PHILIP JAMES LAYFIELD
                                                                              CHARGING DISTRICTS
                          Defendant                                                                                     MJ18-0070
                                                                              CASE NUMBER:

         I understand that charges are pending in the                         CENTRAI,                District of             CALIFORNIA

alleging violation of                       18 :1341 (Mail Fraud)                         and that I have been arrested in this district and
                                                 (Title and Section)


taken before a judge, who has infornied me of the charges) and my rights to:

(►)
retain counsel or request the assignment of counsel if [ am unable to retain counsel;

l2)
an identity hearing to determine w3iether I am the person named in the charges;

(3)
a preliminary hearing (unless an indichnent has been returned or information filed) to determine whether there is probable cause to believe an offense
has been committed by me, the hearing to be held in this district or the district of prosecution; and

(4)
Request transfer of the proceedings to this district under Rule 20, Fed. R. Crim. P., in order to plead guilty.

         IHEREBY WANE (GNE UP} MY RIGHT TO A(I~:
            X ~ identity hearing

         ( ~) preliminary hearing

                 identity hearing but request a preliminary hearing be held in the prosecuting district and, therefore, consent to the issuance of an order
                 requiring my appearance in the prosecuting district where the charges are pending against me.




                                                                              Defendant


                      February 26, 2018
                               Date                                           Defense Counsel
       Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 8 of 9 Page ID #:94


                                       L~JI'f~L-;D STATES DISTRICT COURT
                                            I?ISTRICT OF NEW JERSEY

                                     MAGISTRATE'S COURTROO]YI MINUTES

UNITED .STATES OF f1MERCCA                                        MAGISTRATE JUDGE: Steven C. Mannion

              V                                                   MAGISTRATE NO.:          2:18-mj-6028

                                                          '       DATE OF PROCEEDINGS:     3/2"2018
PHILIP JAMES LAYFIEL,D
                                                                  DATE OP ARREST:      2!?b12013



PROCEEB?NGS;           Bail Hearin     Co,ur~~vvt9 7ET~NTioc~ ~~

   COMPLAINT                                                     ( )TEMPORARY COMMITMENT
   ADVISrD OF FIGHTS                                             ( )CONSENT TO DETENT':ON WITH RIGHT TO MAKE A
   WAIVLR OF COUNSEL                                                B~1L APPLICATION A'`' A LATER TIME
   APPT. •`~F COUNSEL: ~ AFPJ         _ CJA                      GAIL DENIED -DEFEND")ANT REMANDED TO CUSTODY
   WAIV"I:R OP H2G.:     _   PREiI:.9    REMOVAL                 ( )BAIL SET:          _.
   CONSI'SIT TO MAGISTf;ATE'S J[1'TZISDICTION
   PLEA. Lid('EKED:     __ GUIL'!':' _NAT GUILTY                 (   )TRAVEL RESTRICTEG
   PLEA F.GRE~MENT                                               (   )REPORT TO PRETRIAL SERVICES
   FINAI~.~:'IAL AFFIDAVIT EXECUTED                              (   )DRUG TESTING ANDlGR TREATMENT
   OTHEP,                                                        (   )MENTAL HEALTH EVALUATION AND%OR TRF.A1'MENT
                                                                 (   )SURRENDER &;OR OBTAIN NO PASSPORT
   ~I-R C u w~ tx TS     ~4-~c! A   Pi4cK~FGE     ic.rrc E'!7    (   )SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                      ADDITIONAL CONDITIONS

         Id~'7~5 ~I S
         ~                      t"os 1Ito~      ark   1~-1 ~~ f~-(!C~IC.I~•
HEARINGS) SET FOR:

( )PRELIM+fINARY; REMOVAL HRG.                                        DATE:
( )DETEIJTION i BAIL HRG.                                             DATE:
( )TRIAL: _COURT        _JURY                                         DATA:
( )SENTENCING                                                         DA"I'E:
( )OTHEF:                    _                                        DATE:




APPEARp~NCES:

AUSA                   ]ASO~`i GOU~~F

DEFT. Cl7UNSEL          DAVID HOLiv~,~N

PROBATION

INTERPRETER
               Language:


Time Commenced:
Time Terrn;nated:
CD No:
                                                                                Scott J. C'ieea    c
                                                                                    DEPUTY CLERK
       Case 8:18-mj-00070-DUTY Document 4 Filed 03/05/18 Page 9 of 9 Page ID #:95
~ AO 94 (Rev. 12103) Commitment to Another District


                                         UNITED STATES DISTRICT COURT
                               for the                             District of                           New Jerse

         UNITED STATES OF AMERICA                                                         COMMITMENT TO ANOTHER
                    V.                                                                          DISTRICT

               PHILIP JAMES LAYFIELD

                          DOCKET NUMBER                                              MAGISTRATE JUDGE CASE NUMBER
          District of Arrest                  District ofOffense                    Disvict of Arrest                District of Offense

                                                                                   2:18-mj-6028                        MJ18-0070

CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
      ❑ Indictment  ❑Information   ❑Complaint   ❑Other (specify)

charging a violation of                  18       U.S.C. § 1341

DISTRICT OF OFFENSE
                CENTRAL DISTRICT OF CALIFORNIA
DESCRIPTION OF CHARGES:


     Mai] Fraud


CURRENT BOND STATUS:
      ❑ Bail fixed at                         and conditions were not met
      *]Government
      [               moved for detention and defendant detained after hearing in District of Arrest
      ❑ Government moved    for detention and defendant detained pending detention hearing in District ofOffense
      ❑ Other(specify)

Representation:            ❑Retained Own Counsel             X Federal Defender Organization            ❑ CJA Attorney           D None

Interpreter Required?               X No              ❑Yes                       Language:

       TO: THE U1vITED STATES MARSHAL
           You are hereby commanded to take custody of the above named defendant and to transport that
       defendant with a certified copy ofthis commitmentforthwith to the district ofoffense as specified above
       and there deliver the defendant to the United States Marshal for that District or to some other officer
       authorized to receive the defendant.

                  2 March 2018
                      Date                                                                  Judge

                                                                     RETURN

This commitment was received and executed as follows:

                                                              PLACE OF COMMITMENT                           DATE DEFENDANT CQMMIT'TED
DATE COMh11TMENT ORDER RECEIVED



DATE                  UNITED STATES MARSHAL                                         (BY)DEPI~TY MARSHAL
